Filed 04/10/17                                          Case 15-11835                                          Doc 650


                                       UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA


              In re: CANNON, JAMES FLOYD                                    §   Case No. 15-11835
                     CANNON, JAMIE DARLENE                                  §
                     J & J CLEANUP SERVICE, INC                             §
           Debtor(s)                                                        §
                 CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
          REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                         AND APPLICATION TO BE DISCHARGED (TDR)

                 Randell Parker, chapter 7 trustee, submits this Final Account,
        Certification that the Estate has been Fully Administered and Application to be Discharged.

                 1) All funds on hand have been distributed in accordance with the Trustee's Final Report
        and, if applicable, any order of the Court modifying the Final Report. The case is fully
        administered and all assets and funds which have come under the trustee's control in this case
        have been properly accounted for as provided by law. The trustee hereby requests to be
        discharged from further duties as a trustee.

                2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
        discharged without payment, and expenses of administration is provided below:


         Assets Abandoned: $880,213.00                        Assets Exempt: N/A
         (without deducting any secured claims)
         Total Distribution to Claimants:$567,678.75         Claims Discharged
                                                             Without Payment: N/A

         Total Expenses of Administration:$261,724.95


                 3) Total gross receipts of $    830,905.59 (see Exhibit 1 ), minus funds paid to the debtor
         and third parties of $     1,501.89 (see Exhibit 2 ), yielded net receipts of $829,403.70
        from the liquidation of the property of the estate, which was distributed as follows:




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                                                CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                              SCHEDULED            ASSERTED           ALLOWED              PAID


          SECURED CLAIMS
          (from Exhibit 3)                        $985,050.10        $625,346.23        $630,506.33       $505,160.10

          PRIORITY CLAIMS:
            CHAPTER 7 ADMIN. FEES
            AND CHARGES
            (from Exhibit 4 )                            0.00         261,058.93        261,724.95         261,724.95

            PRIOR CHAPTER
            ADMIN. FEES AND
            CHARGES (fromExhibit 5 )                     0.00               0.00               0.00                 0.00
            PRIORITY UNSECURED
            CLAIMS (from Exhibit 6 )                     0.00           1,256.04           1,256.04          1,256.04
          GENERAL UNSECURED
          CLAIMS (fromExhibit 7)                   104,849.35         136,902.25         127,732.15         61,262.61

                                                $1,089,899.45      $1,024,563.45      $1,021,219.47       $829,403.70
          TOTAL DISBURSEMENTS

                  4) This case was originally filed under Chapter 7 on May 06, 2015.
          The case was pending for 23 months.

                  5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                   6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
          each estate bank account, showing the final accounting of the receipts and disbursements of
          estate funds is attached as Exhibit 9 .

                  Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 03/29/2017                 By: /s/Randell Parker
                                                Trustee


          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
          Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                   EXHIBITS TO
                                                                 FINAL ACCOUNT



 EXHIBIT 1 GROSS RECEIPTS

                                                                                            UNIFORM                    $ AMOUNT
                DESCRIPTION
                                                                                           TRAN. CODE 1                RECEIVED
       refunds of secured payments                                                        1229-000                         324.70

       329 Airport Dr                                                                     1110-000                       80,143.83

       216 Belle Ave                                                                      1110-000                       72,555.42

        704 Washington Ave                                                                1110-000                       68,726.63

       408 Oildale Dr.                                                                    1110-000                       70,064.33

       215 El Tejon                                                                       1110-000                       62,740.14

       405 Oildale Dr                                                                     1110-000                       69,068.25

       322 Wilson Ave                                                                     1110-000                       70,406.93

       610 Wilson Ave                                                                     1110-000                       56,213.87

       327 Wilson Ave                                                                     1110-000                       63,551.47

       A duplex located at 325 Wilson Ave.                                                1110-000                      105,237.01

       110 Harding Ave                                                                    1110-000                       67,194.41

       2010 Ford Expedition XLT                                                           1129-000                        1,501.89

       net rents from operating business                                                  1222-000                       43,176.71


      TOTAL GROSS RECEIPTS                                                                                             $830,905.59

  1
      The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


 EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                            UNIFORM                    $ AMOUNT
          PAYEE                                      DESCRIPTION
                                                                                           TRAN. CODE                     PAID
  James Cannon                                      exemption - surplus on re-po
                                                    sale expedition              8100-002                                 1,501.89

      TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                               $1,501.89
      PARTIES




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 EXHIBIT 3 SECURED CLAIMS


                                          UNIFORM     CLAIMS
    CLAIM                                            SCHEDULED            CLAIMS           CLAIMS        CLAIMS
     NO.           CLAIMANT                TRAN.     (from Form          ASSERTED         ALLOWED         PAID
                                           CODE          6D)
       2     A - L Financial Corp         4210-000      N/A                                       0.00          0.00

       3     Wells Fargo Bank, N.A.       4210-000      N/A                 15,864.86        15,864.86          0.00

       8     Caterpillar Financial        4210-000        57,577.99         66,023.13        66,023.13          0.00
             Services Corporation
       9     Toyota Motor Credit          4210-000        14,641.00         14,971.24        14,971.24          0.00
             Corporation
      10S    United Consumer Financial    4210-000      N/A                      250.00         250.00          0.00
             Services
      16     Harley-Davidson Credit Corp. 4210-000        10,700.00         10,700.00        10,700.00          0.00

      20     CAT FINANCIAL COMMERCIAL     4210-000      N/A                                       0.00          0.00
             ACCOUNT CORP.
      21     A - L Financial Corp         4210-000         6,747.00          7,375.00         7,375.00          0.00

      26     Kern County Treasurer-Tax    4700-000      N/A                 10,162.00        10,162.00          0.00
             Collector
     ADMIN   Creative realty & Marketing 4110-000         32,000.00        500,000.00       505,160.10    505,160.10
             and Mortgage
  NOTFILED   Fruitvale Financial, LLC and 4110-000        51,525.93        N/A                 N/A              0.00
             Camelback Investments, GP
  NOTFILED   Barrett, Janeway Pike Family 4110-000       136,510.40        N/A                 N/A              0.00
             Trust, Arline Pike Trust and
  NOTFILED   Camelback Investments, G.P. 4110-000         33,406.87        N/A                 N/A              0.00

  NOTFILED   Fruitvale Financial LLC, and 4110-000        35,702.77        N/A                 N/A              0.00
             Edgewood IRA Investors, LLC
  NOTFILED   C/N Mortgage Co., CC and The 4110-000        44,395.34        N/A                 N/A              0.00
             Hair Family Trust
  NOTFILED   Kay 0. Beavers 2006          4110-000        31,984.55        N/A                 N/A              0.00
             Revocable Trust and
  NOTFILED   Pike Plumbing Co. Inc.       4110-000        67,114.85        N/A                 N/A              0.00
             Defined Benefit Pension Plan
  NOTFILED   Ken Beavers dba Creative     4110-000        60,000.00        N/A                 N/A              0.00
             Realty Mortgage
  NOTFILED   The Patman Family Trust C/O 4110-000         45,000.00        N/A                 N/A              0.00
             Creative Realty
  NOTFILED   Wells Fargo Home Mortage     4110-000       176,473.00        N/A                 N/A              0.00

  NOTFILED   The Entrust Group Inc. fbo   4110-000        36,700.00        N/A                 N/A              0.00

  NOTFILED   Testamentary Trust of Robert 4110-000        39,000.00        N/A                 N/A              0.00
             Pike and
  NOTFILED   Residential Funding Corp.    4110-000        24,291.00        N/A                 N/A              0.00
             C/O Soleil LV, LLC
  NOTFILED   Pinnacle                     4110-000                0.00     N/A                 N/A              0.00

  NOTFILED   North Star IRA Partners, LLC 4110-000        33,303.74        N/A                 N/A              0.00
             C/O Creative Realty
  NOTFILED   C/N Mortgage Co., CC and     4110-000        31,698.66        N/A                 N/A              0.00
             Edgewood IRA Investors, LLC,
  NOTFILED   Hardlicka & Assoc.           4210-000                0.00     N/A                 N/A              0.00

  NOTFILED   Wfs Financial/Wachovia       4210-000        16,277.00        N/A                 N/A              0.00
             Dealer Srvs

  TOTAL SECURED CLAIMS                                  $985,050.10       $625,346.23      $630,506.33   $505,160.10




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 EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                          UNIFORM
     PAYEE                                           CLAIMS          CLAIMS         CLAIMS       CLAIMS
                                           TRAN.
                                                    SCHEDULED       ASSERTED       ALLOWED        PAID
                                           CODE
  Trustee Compensation - Randell Parker      2100-000    N/A           44,720.19     44,720.19    44,720.19

  Trustee Expenses - Randell Parker          2200-000    N/A             692.48        692.48       692.48

  Other - advertising and rent adjustments   2420-000    N/A             840.00        840.00       840.00

  Other - CA New Generation Insurance        2420-000    N/A            1,247.69      1,247.69     1,247.69
  Services, Inc.
  Other - proeprty mgr reserve               2420-000    N/A            2,925.20      2,925.20     2,925.20

  Other - utilities, water                   2420-000    N/A            2,779.80      2,779.80     2,779.80

  Other - repairs and maintenance- various   2420-000    N/A            2,265.69      2,265.69     2,265.69
  vendors
  Other - prorations and adjustments         2500-000    N/A            6,997.42      6,997.42     6,997.42

  Other - first   american title             2500-000    N/A            9,142.03      9,142.03     9,142.03

  Other - kern county                        2820-000    N/A           40,649.75     40,649.75    40,649.75

  Other - KLEIN, DENATALE, GOLDNER           3210-000    N/A           63,768.00     63,768.00    63,768.00

  Other - KLEIN, DENATALE, GOLDNER           3220-000    N/A            3,628.09      3,628.09     3,628.09

  Other - James E. Salven                    3410-000    N/A           24,835.95     24,835.95    24,835.95

  Other - James E. Salven                    3420-000    N/A            1,164.05      1,164.05     1,164.05

  Other - MIramar and others                 3510-000    N/A           45,850.00     45,850.00    45,850.00

  Other - Portfolio Properties               3991-000    N/A            4,703.29      4,703.29     4,703.29

  Other - International Sureties, LTD.       2300-000    N/A              15.44         15.44        15.44

  Other - Trustee Insurance Agency           2420-000    N/A            2,526.00      3,192.00     3,192.00

  Other - Bakersfield Plumbing               2420-000    N/A             258.73        258.75       258.75

  Other - Rabobank, N.A.                     2600-000    N/A              10.00         10.00        10.00

  Other - Rabobank, N.A.                     2600-000    N/A              10.00         10.00        10.00

  Other - Rabobank, N.A.                     2600-000    N/A              24.07         24.07        24.07

  Other - Rabobank, N.A.                     2600-000    N/A             145.08        145.08       145.08

  Other - Rabobank, N.A.                     2600-000    N/A             160.98        160.98       160.98

  Other - Rabobank, N.A.                     2600-000    N/A             165.02        165.02       165.02

  Other - Rabobank, N.A.                     2600-000    N/A             195.06        195.06       195.06

  Other - Rabobank, N.A.                     2600-000    N/A             177.90        177.90       177.90

  Other - Rabobank, N.A.                     2600-000    N/A             217.71        217.71       217.71

  Other - Rabobank, N.A.                     2600-000    N/A             242.85        242.85       242.85

  Other - Rabobank, N.A.                     2600-000    N/A             229.48        229.48       229.48


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  Other - Rabobank, N.A.                      2600-000            N/A                 277.53         277.53       277.53

  Other - Rabobank, N.A.                      2600-000            N/A                 193.45         193.45       193.45

  TOTAL CHAPTER 7 ADMIN. FEES                               N/A                 $261,058.93     $261,724.95   $261,724.95
  AND CHARGES


 EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                          UNIFORM
     PAYEE                                              CLAIMS               CLAIMS             CLAIMS        CLAIMS
                                           TRAN.
                                                       SCHEDULED            ASSERTED           ALLOWED         PAID
                                           CODE
                                                     None

  TOTAL PRIOR CHAPTER ADMIN.                                N/A                        $0.00          $0.00         $0.00
  FEES AND CHARGES


 EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                          UNIFORM       CLAIMS               CLAIMS
    CLAIM                                              SCHEDULED            ASSERTED            CLAIMS        CLAIMS
     NO.           CLAIMANT                TRAN.         (from Form        (from Proofs of     ALLOWED         PAID
                                           CODE              6E)                Claim)
      25    Tammy Wayt and James Cloyd    5600-000          N/A                     1,000.00       1,000.00      1,000.00

      27    Kern County Treasurer-Tax     5800-000          N/A                       256.04         256.04       256.04
            Collector
  TOTAL PRIORITY UNSECURED                                        $0.00           $1,256.04       $1,256.04     $1,256.04
  CLAIMS


 EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                          UNIFORM       CLAIMS               CLAIMS
    CLAIM                                              SCHEDULED            ASSERTED            CLAIMS        CLAIMS
     NO.           CLAIMANT                TRAN.         (from Form        (from Proofs of     ALLOWED         PAID
                                           CODE              6F)                Claim)
       1    CACH, LLC                     7100-000          N/A                       780.73         780.73       374.46

       4    Sheffield Financial           7100-000          N/A                     4,497.09           0.00          0.00

       5    AltaOne Federal Credit Union 7100-000           N/A                   20,500.00       20,500.00      9,832.16

       6    AltaOne Federal Credit Union 7100-000           N/A                   18,492.71       18,492.71      8,869.43

       7    CAT FINANCIAL COMMERCIAL      7100-000          N/A                   21,219.99       21,219.99     10,177.48
            ACCOUNT CORP.
      10U   United Consumer Financial     7100-000          N/A                       370.53         370.53       177.71
            Services
      11    Quantum3 Group LLC as agent   7100-000          N/A                     1,216.23       1,216.23       583.33
            for
      12    Toby Curtis                   7100-000            43,631.70           33,500.00       33,500.00     16,067.20

      13    Toby Curtis                   7100-000            20,875.65           16,500.00       16,500.00      7,913.69

      14    Capital One, N.A.             7100-000                453.00              453.06         453.06       217.30

      15    Capital One, N.A.             7100-000                577.00              577.17         577.17       276.82



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      17     Cavalry SPV I, LLC           7100-000        1,778.00       1,778.78      1,778.78      853.13

      18     Cavalry SPV I, LLC           7100-000     N/A               2,063.15      2,063.15      989.52

      19     Aera Energy LLC              7100-000     N/A               4,234.50      4,234.50     2,030.94

      22     DANIEL'S JEWELERS            7100-000           761.00      1,078.25      1,078.25      517.15

      23W    jimmy and gwendolyn cannon   7100-000     N/A             N/A                 0.00         0.00

      24     Bustos Insurance Agency      7100-000     N/A               9,640.06      4,967.05     2,382.29

  NOTFILED   First Premier Bank           7100-000           848.00    N/A               N/A            0.00

  NOTFILED   Capital One                  7100-000        2,063.00     N/A               N/A            0.00

  NOTFILED   Grant & Weber                7100-000        1,028.00     N/A               N/A            0.00

  NOTFILED   Commercial Trade Burea       7100-000           681.00    N/A               N/A            0.00

  NOTFILED   First Premier Bank           7100-000           669.00    N/A               N/A            0.00

  NOTFILED   Herbert P Sears Co           7100-000           679.00    N/A               N/A            0.00

  NOTFILED   Grant & Weber                7100-000           319.00    N/A               N/A            0.00

  NOTFILED   United Consumer Financial    7100-000           560.00    N/A               N/A            0.00
             Services
  NOTFILED   Sheffield Fn Bb&T/Attn:      7100-000        3,020.00     N/A               N/A            0.00
             Bankruptcy Department
  NOTFILED   Webbank/fingerhut            7100-000        1,169.00     N/A               N/A            0.00

  NOTFILED   Herbert P Sears Co           7100-000           251.00    N/A               N/A            0.00

  NOTFILED   Western Exterminator Co.     7100-000           700.00    N/A               N/A            0.00

  NOTFILED   Herbert P Sears Co           7100-000           416.00    N/A               N/A            0.00

  NOTFILED   Herbert P Sears Co           7100-000        2,392.00     N/A               N/A            0.00

  NOTFILED   Grant & Weber                7100-000           100.00    N/A               N/A            0.00

  NOTFILED   Leonard K. Welsh             7100-000     unknown         N/A               N/A            0.00

  NOTFILED   Grant & Weber                7100-000           274.00    N/A               N/A            0.00

  NOTFILED   Herbert P Sears Co           7100-000           597.00    N/A               N/A            0.00

  NOTFILED   Horswill, Mederos & Soares   7100-000     unknown         N/A               N/A            0.00

  NOTFILED   Altaone Fcu                  7100-000       21,007.00     N/A               N/A            0.00

  TOTAL GENERAL UNSECURED                              $104,849.35    $136,902.25   $127,732.15   $61,262.61
  CLAIMS




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                                                                                                                                                                Exhibit 8


                                                                          Form 1                                                                                Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
 Case Number: 15-11835                                                             Trustee:        (001630)     Randell Parker
 Case Name:         CANNON, JAMES FLOYD                                            Filed (f) or Converted (c): 05/06/15 (f)
                    CANNON, JAMIE DARLENE                                          §341(a) Meeting Date:        09/15/15
 Period Ending: 03/29/17                                                           Claims Bar Date:             12/18/15

                               1                                  2                           3                      4                 5                    6

                     Asset Description                         Petition/             Estimated Net Value         Property         Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)           Unscheduled        (Value Determined By Trustee,   Abandoned         Received by       Administered (FA)/
                                                                Values             Less Liens, Exemptions,      OA=§554(a)         the Estate        Gross Value of
 Ref. #                                                                                and Other Costs)                                             Remaining Assets

  1       refunds of secured payments (u)                               0.00                       283.95                                  324.70                   FA

  2       Residence at 5820 Fernside Ct., Bakersfield CA 9      350,000.00                            0.00                                   0.00                   FA

  3       1812 Airport Dr                                       121,709.00                            0.00         OA                        0.00                   FA

  4       329 Airport Dr                                         91,125.00                     39,503.23                               80,143.83                    FA

  5       216 Belle Ave                                          99,592.00                     33,500.00                               72,555.42                    FA

  6       704 Washington Ave                                     42,000.00                     19,113.77                               68,726.63                    FA

  7       408 Oildale Dr.                                       114,340.00                     19,207.41                               70,064.33                    FA

  8       511 Belle Ave (sold pre-conversion)                   155,702.00                            0.00                                   0.00                   FA

  9       215 El Tejon                                           99,724.00                     25,881.34                               62,740.14                    FA

 10       405 Oildale Dr                                         90,371.00                        8,431.07                             69,068.25                    FA

 11       322 Wilson Ave                                         58,282.00                     28,300.00                               70,406.93                    FA

 12       610 Wilson Ave                                        369,552.00                     16,366.13                               56,213.87                    FA

 13       327 Wilson Ave                                         68,121.00                     36,908.00                               63,551.47                    FA

 14       A duplex located at 325 Wilson Ave.                   130,778.00                     45,074.07                              105,237.01                    FA

 15       A duplex located at 317 Wilson Ave.                   150,000.00                            0.00         OA                        0.00                   FA

 16       110 Harding Ave                                        81,089.00                     22,784.45                               67,194.41                    FA

 17       Commercial building1024 Black Gold (DELETED)                  0.00                          0.00         OA                        0.00                   FA

 18       Timeshare located at 7200 Las Vegas Blvd. South,       30,000.00                            0.00                                   0.00                   FA

 19       Wells Fargo Bank,Checking and savings                         0.00                          0.00                                   0.00                   FA

 20       PG&E Security Deposit                                   1,000.00                        1,000.00                                   0.00                   FA

 21       Household goods and furnishings                        10,000.00                            0.00                                   0.00                   FA

 22       Wearing apparel                                         2,000.00                            0.00                                   0.00                   FA

 23       Jewelry                                                 2,000.00                            0.00                                   0.00                   FA

 24       1 FIREARMS                                                  150.00                          0.00                                   0.00                   FA

 25       50% owner of J & J Cleanup Service Inc.                 Unknown                             0.00                                   0.00                   FA

 26       2007 Dodge Charger SXT 4D Sedan - 150,000 miles         6,781.00                            0.00                                   0.00                   FA

 27       2011 Toyota Tundra Double Cab 4D SB - 70,000 mil       19,421.00                        3,015.75                                   0.00                   FA



                                                                                                                                 Printed: 03/29/2017 12:13 PM    V.13.30
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                                                                                                                                                                                     Exhibit 8


                                                                                     Form 1                                                                                          Page: 2

                                            Individual Estate Property Record and Report
                                                             Asset Cases
 Case Number: 15-11835                                                                        Trustee:         (001630)        Randell Parker
 Case Name:        CANNON, JAMES FLOYD                                                        Filed (f) or Converted (c): 05/06/15 (f)
                   CANNON, JAMIE DARLENE                                                      §341(a) Meeting Date:            09/15/15
 Period Ending: 03/29/17                                                                      Claims Bar Date:                 12/18/15

                                 1                                           2                             3                          4                     5                    6

                      Asset Description                                 Petition/              Estimated Net Value              Property             Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)                   Unscheduled         (Value Determined By Trustee,        Abandoned             Received by        Administered (FA)/
                                                                         Values              Less Liens, Exemptions,           OA=§554(a)             the Estate         Gross Value of
 Ref. #                                                                                          and Other Costs)                                                       Remaining Assets

 28        2010 Ford Expedition XLT                                         18,291.00                             0.00                                       1,501.89                       FA

 29        2009 Harley Davidson Ultra Classic Glide                         11,450.00                          787.75                                            0.00                       FA

 30        320LC Caterpillar excavator (deleted 11/16/15)                         0.00                            0.00                                           0.00                       FA

 31        Equipment used in business (deleted by debtor)                         0.00                            0.00                                           0.00                       FA

 32        2008 Four Winns Boat (u)                                         20,000.00                       20,000.00                                            0.00                       FA
            Auctioneer discovered when looking at debtors'
           equipment. Debtor amended and added
           Debtor moved boat to Idaho, debtor has not
           responded to our demands for turnover, too costly to
           pursue turnover

 33        net rents from operating business (u)                                  0.00                      20,000.00                                       43,176.71                       FA

  33      Assets      Totals (Excluding unknown values)                 $2,143,478.00                     $340,156.92                                   $830,905.59                    $0.00



       Major Activities Affecting Case Closing:

                     This case was filed as a Chapter 13 on May 6, 2015, and converted to Chapter 7 on August 13, 2015, and Randell Parker was appointed as trustee. The 341
                   meeting has not been concluded. The bar date for filing claims expired on December 18, 2015.
                     Mrs. Debtor has never appeared for the 341 meeting of creditors and it has been continued to February 2, 2016. Debtors have not responded to demands for
                   information on the real properties so we have filed a motion to object to discharge.
                     As soon as I was appointed on this case, I consulted with attorney Holder to assist me in the running of a business to collect rents on multiple properties. We found a
                   property manager and motioned the court to employ the property manager and run the business until all properties are sold.
                     We enlisted the services of a broker to value and list the properties for sale. We listed 13 properties for sale, six have been sold, and the funds are on hand. The
                   remaining seven are still on the market. There are two properties that the estate will abandon as of March 2016, leaving five to sell.
                     The property management company continues to collect rent on the unsold properties and we file operating reports.
                     An accountant was employed to assist in preparing the operating reports, to advise on capital gains issues, and to prepare taxes.
                     Claims have been reviewed and we have sent out inquiries on those that may be against the partnership/corp instead of this debtor.
                     Trustee is holding off on seeking a turnover on the boat because the costs involved for secured payments, legal, mechanical (axle broken on boat trailer and forklift or
                   other heavy equip needed) , and marshal coupled with auctioneer fees and expenses could exceed return. Debtors vehemence for not turning over is also a factor.
                     Trustee has discussed with counsel the Toby Curtis claim and the debtors' objection to it. We believe that the claim is not usurious. We watch as debtor is objecting
                   to claims and coming to agreements with his creditors.
                     Debtor has filed a chapter 11 on J&J Cleanup Service; we will await complications from this move. The case was dismissed.
                     This narrative is a living, changing document as we are required to report on this case with what is known at the time. The story of this case is a stubborn debtor who
                   failed to provide complete documents as demanded, and his wife who never appeared at a creditor meeting, until late in the case when she appeared telephonically.
                   Based on non cooperation, we made a motion to deny their discharge, and it was granted. We administered 13 real properties, sold 11 of them and abandoned the
                   other two. We hired, with court approval, a property manager and he marketed the rentals, collected rents, made the repairs, and accounted to the estate. All such
                   accounting has been reviewed by the accountant for the estate, the lawyer, and the trustee and we have filed all of our monthly operating reports on this operating


                                                                                                                                                    Printed: 03/29/2017 12:13 PM      V.13.30
Filed 04/10/17                                                                       Case 15-11835                                                                                        Doc 650
                                                                                                                                                                                  Exhibit 8


                                                                                  Form 1                                                                                          Page: 3

                                          Individual Estate Property Record and Report
                                                           Asset Cases
 Case Number: 15-11835                                                                      Trustee:         (001630)       Randell Parker
 Case Name:       CANNON, JAMES FLOYD                                                       Filed (f) or Converted (c): 05/06/15 (f)
                  CANNON, JAMIE DARLENE                                                     §341(a) Meeting Date:           09/15/15
 Period Ending: 03/29/17                                                                    Claims Bar Date:                12/18/15

                               1                                           2                            3                           4                   5                     6

                     Asset Description                                Petition/              Estimated Net Value              Property            Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                  Unscheduled         (Value Determined By Trustee,        Abandoned            Received by       Administered (FA)/
                                                                       Values              Less Liens, Exemptions,           OA=§554(a)            the Estate        Gross Value of
 Ref. #                                                                                        and Other Costs)                                                     Remaining Assets

                 business. We hired a real estate broker and eventually sold eleven of the thirteen low rent rentals.
                    There were three vehicles that debtor did not want to turnover and fought our demands for turnover, which resulted in our filing a motion for turnover on the three
                 vehicles. With the costs involved in paying the secured payments, fetching these from Idaho, and repairing, we have decided to deem abandon the boat, Harley, and
                 Tundra.
                    Debtor entered into objections to claim on four creditors. He has settled with each and claims are now fixed.
                    The claims have been reviewed and are in order.
                    We received a surplus check from a secured creditor on a prepetition repossession sale. The amount is exempt and will be turned over to debtor.
                    Close.

      Initial Projected Date Of Final Report (TFR):      March 15, 2017                       Current Projected Date Of Final Report (TFR):          October 17, 2016 (Actual)




                                                                                                                                                 Printed: 03/29/2017 12:13 PM      V.13.30
Filed 04/10/17                                                                         Case 15-11835                                                                                         Doc 650
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                                                                                           Form 2                                                                                     Page: 1

                                                       Cash Receipts And Disbursements Record
Case Number:          15-11835                                                                           Trustee:            Randell Parker (001630)
Case Name:            CANNON, JAMES FLOYD                                                                Bank Name:          Rabobank, N.A.
                      CANNON, JAMIE DARLENE                                                              Account:            ******9366 - Checking Account
Taxpayer ID #: **-***9894                                                                                Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 03/29/17                                                                                  Separate Bond: N/A

    1            2                               3                                         4                                             5                    6                  7

  Trans.     {Ref #} /                                                                                                               Receipts          Disbursements    Checking
   Date      Check #          Paid To / Received From                     Description of Transaction                T-Code              $                    $       Account Balance
 09/01/15       {1}        creative realty marketing             refund                                             1229-000                 221.65                                   221.65
 09/30/15                  Rabobank, N.A.                        Bank and Technology Services Fee                   2600-000                                      10.00               211.65
 10/16/15                  portfolio mgmt                        net rents                                                                2,128.45                                   2,340.10
               {33}                                                 rents on all properties         8,150.00        1222-000                                                         2,340.10
                              Portfolio Properties                  mgmt fees                      -1,624.00        3991-000                                                         2,340.10
                              utilities, water                      utilities                      -2,182.35        2420-000                                                         2,340.10
                              advertising and rent adjustments      advertising and one                 -90.00      2420-000                                                         2,340.10
                                                                    pre-paid rent credit
                              proeprty mgr reserve                  reserve                        -2,125.20        2420-000                                                         2,340.10
 10/30/15                  Rabobank, N.A.                        Bank and Technology Services Fee                   2600-000                                      10.00              2,330.10
 11/05/15       {9}        christopher dumayas for group 111     pay                                                1110-000              5,000.00                                   7,330.10
                           sgv properties
 11/10/15      101         CA New Generation Insurance           45 day extention of insurance policy maxium        2420-000                                   1,247.69              6,082.41
                           Services, Inc.
 11/18/15                  portfolio properties                                                                                           5,968.86                               12,051.27
               {33}                                                 gross rents                     9,600.00        1222-000                                                     12,051.27
                              Portfolio Properties                  mgmt fees                          -768.00      3991-000                                                     12,051.27
                              utilities, water                      water                              -597.45      2420-000                                                     12,051.27
                              repairs and maintenance- various      repairs                        -2,265.69        2420-000                                                     12,051.27
                              vendors
 11/23/15                  First American Title                                                                                          29,628.20                               41,679.47
                {4}                                                 gross sale                    80,143.83         1110-000                                                     41,679.47
                              MIramar                               commissions                    -4,800.00        3510-000                                                     41,679.47
                              Creative realty & Marketing and       loan payoff amount            -42,734.02        4110-000                                                     41,679.47
                              Mortgage
                              rirst american title                  escrow costs                       -886.50      2500-000                                                     41,679.47
                              kern county                           taxes and fees                 -2,095.11        2820-000                                                     41,679.47
 11/23/15                  First American Title                                                                                          28,275.30                               69,954.77
               {14}                                                 gross sale                   105,237.01         1110-000                                                     69,954.77
                              MIramar                               commission                     -6,250.00        3510-000                                                     69,954.77
                              Creative realty & Marketing and       loan payoff                   -64,169.42        4110-000                                                     69,954.77
                              Mortgage
                              first american title                  title costs                    -1,010.00        2500-000                                                     69,954.77
                              kern county                           taxes and fees                 -3,282.29        2820-000                                                     69,954.77
                              prorations and adjustments            rents adjustments and          -2,250.00        2500-000                                                     69,954.77
                                                                    security deposit
 11/23/15                  First American                                                                                                12,598.09                               82,552.86


                                                                                                          Subtotals :                  $83,820.55             $1,267.69
 {} Asset reference(s)                                                                                                                            Printed: 03/29/2017 12:13 PM        V.13.30
Filed 04/10/17                                                                         Case 15-11835                                                                                        Doc 650
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                                                      Cash Receipts And Disbursements Record
Case Number:          15-11835                                                                          Trustee:            Randell Parker (001630)
Case Name:            CANNON, JAMES FLOYD                                                               Bank Name:          Rabobank, N.A.
                      CANNON, JAMIE DARLENE                                                             Account:            ******9366 - Checking Account
Taxpayer ID #: **-***9894                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 03/29/17                                                                                 Separate Bond: N/A

    1            2                                3                                       4                                             5                     6                 7

  Trans.     {Ref #} /                                                                                                              Receipts          Disbursements    Checking
   Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                    $       Account Balance
                {9}                                                gross sale                    57,636.13         1110-000                                                     82,552.86
                              MIramar                              commissions                   -3,750.00         3510-000                                                     82,552.86
                              Creative realty & Marketing and      loan payoff                  -38,467.16         4110-000                                                     82,552.86
                              Mortgage
                              first american title                 escrow costs                       -586.75      2500-000                                                     82,552.86
                              kern county                          taxes and fees                -2,014.13         2820-000                                                     82,552.86
                              prorations and adjustments           rents and tax                      -220.00      2500-000                                                     82,552.86
 11/30/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        24.07        82,528.79
 12/11/15      {33}        portfolio                            net rents                                          1222-000              4,037.15                               86,565.94
 12/15/15       {9}        creative realty                      refund                                             1110-000                 104.01                              86,669.95
 12/16/15      102         Trustee Insurance Agency             three months coverage on 7 properties              2420-000                                    2,010.00         84,659.95
 12/16/15      103         KLEIN, DENATALE, GOLDNER             court approved fees                                3210-000                                   23,445.00         61,214.95
 12/16/15      104         KLEIN, DENATALE, GOLDNER             court approved expenses                            3220-000                                    1,423.49         59,791.46
 12/17/15      105         Bakersfield Plumbing                 SEWER REPAIR 325 1/2 WILSON- PRIOR                 2420-000                                       258.75        59,532.71
                                                                TO SALE
 12/18/15                  first american title                                                                                         16,835.98                               76,368.69
               {13}                                                gross sale                    63,551.47         1110-000                                                     76,368.69
                              Creative realty & Marketing and      payoffs                      -37,600.88         4110-000                                                     76,368.69
                              Mortgage
                              MIramar and others                   r.e. commissions              -3,810.00         3510-000                                                     76,368.69
                              kern county                          taxes                         -3,478.05         2820-000                                                     76,368.69
                              first american title                 title costs                        -587.85      2500-000                                                     76,368.69
                              prorations and adjustments           security deposit and pro      -1,238.71         2500-000                                                     76,368.69
                                                                   rate tax
 12/18/15                  first american title                                                                                         16,717.28                               93,085.97
                {5}                                                gross sale                    72,555.42         1110-000                                                     93,085.97
                              Creative realty & Marketing and      payoffs                      -44,828.04         4110-000                                                     93,085.97
                              Mortgage
                              MIramar and others                   r.e. commmissions             -4,350.00         3510-000                                                     93,085.97
                              kern county                          tax                           -4,543.14         2820-000                                                     93,085.97
                              first american title                 title costs                        -878.25      2500-000                                                     93,085.97
                              prorations and adjustments           security deposit and          -1,238.71         2500-000                                                     93,085.97
                                                                   prorate taxes
 12/23/15                  first american title                                                                                         19,853.16                           112,939.13
               {11}                                                gross proceed                 70,406.93         1110-000                                                 112,939.13
                              Creative realty & Marketing and      payoffs                      -40,676.13         4110-000                                                 112,939.13
                              Mortgage


                                                                                                         Subtotals :                  $57,547.58             $27,161.31
 {} Asset reference(s)                                                                                                                           Printed: 03/29/2017 12:13 PM        V.13.30
Filed 04/10/17                                                                        Case 15-11835                                                                                          Doc 650
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                                                      Cash Receipts And Disbursements Record
Case Number:          15-11835                                                                           Trustee:            Randell Parker (001630)
Case Name:            CANNON, JAMES FLOYD                                                                Bank Name:          Rabobank, N.A.
                      CANNON, JAMIE DARLENE                                                              Account:            ******9366 - Checking Account
Taxpayer ID #: **-***9894                                                                                Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 03/29/17                                                                                  Separate Bond: N/A

    1            2                                3                                       4                                              5                    6                  7

  Trans.     {Ref #} /                                                                                                               Receipts          Disbursements    Checking
   Date      Check #          Paid To / Received From                     Description of Transaction                T-Code              $                    $       Account Balance
                              MIramar and others                   commissions                    -4,200.00         3510-000                                                 112,939.13
                              kern county                          taxes                          -4,543.14         2820-000                                                 112,939.13
                              first american title                 fees                                -334.50      2500-000                                                 112,939.13
                              proeprty mgr reserve                 security deposit                    -800.00      2420-000                                                 112,939.13
 12/31/15                  Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                      145.08     112,794.05
 01/05/16       {1}        creative realty                      216 belle                                           1229-000                  18.15                          112,812.20
 01/05/16       {1}        creative                             322 wilson                                          1229-000                  14.93                          112,827.13
 01/05/16       {1}        creative                             327 wilson                                          1229-000                  14.89                          112,842.02
 01/05/16       {1}        creative                             no property reference on ck - 1904 airport sold 1229-000                      14.33                          112,856.35
                                                                in august- replacement ck
 01/05/16      {33}        portfolio property                   december 2015                                       1222-000              4,096.23                           116,952.58
 01/19/16      106         Portfolio Properties                 eviction on 610 Wilson                              3991-000                                      640.00     116,312.58
 01/29/16                  Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                      160.98     116,151.60
 02/09/16      107         International Sureties, LTD.         BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                       15.44     116,136.16
                                                                BALANCE AS OF 01/01/2016 FOR CASE
                                                                #15-11835, 1/1/16- 1/1/17 # 016048575
 02/10/16      {33}        poerfolio property mgmt              7 owner payments                                    1222-000              5,001.47                           121,137.63
 03/01/16                  Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                      165.02     120,972.61
 03/09/16      {33}        portfolio prop                       income                                              1222-000              4,568.18                           125,540.79
 03/14/16      108         Trustee Insurance Agency             3/17 -4/30 REMAINING 7 RENTALS                      2420-000                                      994.00     124,546.79
 03/31/16                  Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                      195.06     124,351.73
 04/11/16      {33}        portfolio property mgmt              march statement                                     1222-000              2,410.20                           126,761.93
 04/20/16      109         First American Title                 322 wilson property tax                             2500-000                                   1,434.54      125,327.39
 04/25/16                  first american title                                                                                          13,299.08                           138,626.47
               {12}                                                gross sale                     56,213.87         1110-000                                                 138,626.47
                              MIramar and others                   sale commissions               -3,360.00         3510-000                                                 138,626.47
                              Creative realty & Marketing and      loan payoff                   -37,686.64         4110-000                                                 138,626.47
                              Mortgage
                              first american title                 escrow costs                        -585.60      2500-000                                                 138,626.47
                              kern county                          tax                            -1,282.55         2820-000                                                 138,626.47
 04/25/16                  first american title                 gross sale                                                               17,175.17                           155,801.64
                {6}                                                sale gross                     68,726.63         1110-000                                                 155,801.64
                              prorations and adjustments           return of tenant deposit            -750.00      2500-000                                                 155,801.64
                              prorations and adjustments           rent adjust                         -275.00      2500-000                                                 155,801.64
                              MIramar and others                   commissions                    -4,110.00         3510-000                                                 155,801.64
                              Creative realty & Marketing and      loan payoff                   -41,379.66         4110-000                                                 155,801.64
                              Mortgage

                                                                                                          Subtotals :                  $46,612.63             $3,750.12
 {} Asset reference(s)                                                                                                                            Printed: 03/29/2017 12:13 PM        V.13.30
Filed 04/10/17                                                                         Case 15-11835                                                                                          Doc 650
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                                                      Cash Receipts And Disbursements Record
Case Number:          15-11835                                                                            Trustee:            Randell Parker (001630)
Case Name:            CANNON, JAMES FLOYD                                                                 Bank Name:          Rabobank, N.A.
                      CANNON, JAMIE DARLENE                                                               Account:            ******9366 - Checking Account
Taxpayer ID #: **-***9894                                                                                 Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 03/29/17                                                                                   Separate Bond: N/A

    1            2                                3                                      4                                                5                     6                 7

  Trans.     {Ref #} /                                                                                                                Receipts          Disbursements    Checking
   Date      Check #           Paid To / Received From                     Description of Transaction                T-Code              $                    $       Account Balance
                              first american title                  title costs                         -618.35      2500-000                                                 155,801.64
                              kern county                           tax                             -4,418.45        2820-000                                                 155,801.64
 04/25/16                  first american title                                                                                            7,726.97                           163,528.61
               {16}                                                 gross sale                      57,194.41        1110-000                                                 163,528.61
                              prorations and adjustments            prorations and                  -1,025.00        2500-000                                                 163,528.61
                                                                    adjustments
                              MIramar and others                    commissions                     -3,420.00        3510-000                                                 163,528.61
                              Creative realty & Marketing and       loan payoff                    -40,657.54        4110-000                                                 163,528.61
                              Mortgage
                              first american title                  escrow costs                        -561.70      2500-000                                                 163,528.61
                              kern county                           tax                             -3,803.20        2820-000                                                 163,528.61
 04/29/16                  Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                       177.90    163,350.71
 05/03/16      110         Creative realty & Marketing and       1812 Airport adequate protection payment per        4110-000                                    2,628.07     160,722.64
                           Mortgage                              court order
 05/03/16      111         Creative realty & Marketing and       317 Wilson adequate protection payment per          4110-000                                    3,904.62     156,818.02
                           Mortgage                              court order
 05/04/16      112         Creative realty & Marketing and       405 oildale 7 months adequate protection sept       4110-000                                    3,240.16     153,577.86
                           Mortgage                              - march
 05/05/16      113         Trustee Insurance Agency              insurance billing on remaining two properties       2420-000                                       188.00    153,389.86
 05/09/16       {1}          crestive realty                     refund of escrow overage 110 harding                1229-000                  23.12                          153,412.98
 05/09/16       {1}        creative realty                       refund of overpayment 704 washington                1229-000                  13.08                          153,426.06
 05/18/16       {1}        creative realty                       escrow pay adjustment                               1229-000                   4.55                          153,430.61
 05/31/16                  Rabobank, N.A.                        Bank and Technology Services Fee                    2600-000                                       217.71    153,212.90
 06/21/16      {33}        portfolio prop                        april and may 2016                                  1222-000              2,803.86                           156,016.76
 06/29/16                  first am title                                                                                                  7,701.97                           163,718.73
               {10}                                                 gross                           69,040.95        1110-000                                                 163,718.73
                              Creative realty & Marketing and       payoff                         -48,795.07        4110-000                                                 163,718.73
                              Mortgage
                              kern county                           tax                             -7,965.51        2820-000                                                 163,718.73
                              MIramar and others                    commisssion                     -3,000.00        3510-000                                                 163,718.73
                              first american title                  escrow cost                         -828.40      2500-000                                                 163,718.73
                              advertising and rent adjustments      security deposit                    -750.00      2420-000                                                 163,718.73
 06/29/16                  first am title                                                                                                  3,400.62                           167,119.35
                {7}                                                 gross                           70,036.08        1110-000                                                 167,119.35
                              Creative realty & Marketing and       payoff                         -58,392.69        4110-000                                                 167,119.35
                              Mortgage
                              MIramar and others                    commission                      -4,200.00        3510-000                                                 167,119.35


                                                                                                           Subtotals :                  $21,674.17             $10,356.46
 {} Asset reference(s)                                                                                                                             Printed: 03/29/2017 12:13 PM        V.13.30
Filed 04/10/17                                                                       Case 15-11835                                                                                         Doc 650
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                                                      Cash Receipts And Disbursements Record
Case Number:          15-11835                                                                         Trustee:            Randell Parker (001630)
Case Name:            CANNON, JAMES FLOYD                                                              Bank Name:          Rabobank, N.A.
                      CANNON, JAMIE DARLENE                                                            Account:            ******9366 - Checking Account
Taxpayer ID #: **-***9894                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 03/29/17                                                                                Separate Bond: N/A

    1            2                                3                                       4                                            5                    6                  7

  Trans.     {Ref #} /                                                                                                             Receipts          Disbursements    Checking
   Date      Check #          Paid To / Received From                  Description of Transaction                 T-Code              $                    $       Account Balance
                              kern county                        tax                             -3,213.18        2820-000                                                 167,119.35
                              first american title               escrow cost                        -829.59       2500-000                                                 167,119.35
 06/29/16      114         Portfolio Properties               neg balance on 610 wilson                           3991-000                                      709.21     166,410.14
 06/29/16      115         Portfolio Properties               neg balance 329 airport                             3991-000                                       37.80     166,372.34
 06/29/16      116         Portfolio Properties               neg balance 408 oildale                             3991-000                                      391.70     165,980.64
 06/29/16      117         Portfolio Properties               neg balance 325 wilson                              3991-000                                      532.58     165,448.06
 06/30/16                  Rabobank, N.A.                     Bank and Technology Services Fee                    2600-000                                      242.85     165,205.21
 07/01/16      {10}        creative                           overpiad payoff 405 oildale                         1110-000                  27.30                          165,232.51
 07/01/16       {7}        creative                           overpaid payoff 408 oildale                         1110-000                  28.25                          165,260.76
 07/28/16                  first american title               additional proceeds to conform to court order                             9,389.00                           174,649.76
               {16}                                              additional funds                10,000.00        1110-000                                                 174,649.76
                              MIramar and others                 additional commission              -600.00       3510-000                                                 174,649.76
                              kern county                        additional tranfer tax               -11.00      2820-000                                                 174,649.76
 07/29/16                  Rabobank, N.A.                     Bank and Technology Services Fee                    2600-000                                      229.48     174,420.28
 08/09/16      {33}        portfolio properties               final rents                                         1222-000              2,309.62                           176,729.90
 08/29/16      118         KLEIN, DENATALE, GOLDNER           court approved fees                                 3210-000                                  40,323.00      136,406.90
 08/29/16      119         KLEIN, DENATALE, GOLDNER           court approved expenses                             3220-000                                   2,204.60      134,202.30
 08/31/16                  Rabobank, N.A.                     Bank and Technology Services Fee                    2600-000                                      277.53     133,924.77
 09/07/16      {33}         portfolio properties              return of reserve                                   1222-000                 200.00                          134,124.77
 09/13/16      {28}        wells fargo                        surplus on sale of re-poed ford                     1129-000              1,501.89                           135,626.66
 09/30/16                  Rabobank, N.A.                     Bank and Technology Services Fee                    2600-000                                      193.45     135,433.21
 10/12/16      120         James Cannon                       exemption - surplus on re-po sale expedition        8100-002                                   1,501.89      133,931.32
 01/09/17      121         Randell Parker                     Dividend paid 100.00% on $44,720.19,                2100-000                                  44,720.19          89,211.13
                                                              Trustee Compensation; Reference:
 01/09/17      122         Randell Parker                     Dividend paid 100.00% on $692.48, Trustee           2200-000                                      692.48         88,518.65
                                                              Expenses; Reference:
 01/09/17      123         Tammy Wayt and James Cloyd         Dividend paid 100.00% on $1,000.00; Claim#          5600-000                                   1,000.00          87,518.65
                                                              25; Filed: $1,000.00; Reference:
 01/09/17      124         Kern County Treasurer-Tax          Dividend paid 100.00% on $256.04; Claim#            5800-000                                      256.04         87,262.61
                           Collector                          27; Filed: $256.04; Reference:
 01/09/17      125         CACH, LLC                          Dividend paid 47.96% on $780.73; Claim# 1;          7100-000                                      374.46         86,888.15
                                                              Filed: $780.73; Reference: 7285
 01/09/17      126         CAT FINANCIAL COMMERCIAL           Dividend paid 47.96% on $21,219.99; Claim#          7100-000                                  10,177.48          76,710.67
                           ACCOUNT CORP.                      7; Filed: $21,219.99; Reference: 7250
 01/09/17      127         United Consumer Financial Services Dividend paid 47.96% on $370.53; Claim#             7100-000                                      177.71         76,532.96
                                                              10U; Filed: $370.53; Reference: 3013
 01/09/17      128         Quantum3 Group LLC as agent for    Dividend paid 47.96% on $1,216.23; Claim#           7100-000                                      583.33         75,949.63


                                                                                                        Subtotals :                  $13,456.06         $104,625.78
 {} Asset reference(s)                                                                                                                          Printed: 03/29/2017 12:13 PM        V.13.30
Filed 04/10/17                                                                 Case 15-11835                                                                                          Doc 650
                                                                                                                                                                              Exhibit 9


                                                                               Form 2                                                                                         Page: 6

                                                    Cash Receipts And Disbursements Record
Case Number:         15-11835                                                                     Trustee:            Randell Parker (001630)
Case Name:           CANNON, JAMES FLOYD                                                          Bank Name:          Rabobank, N.A.
                     CANNON, JAMIE DARLENE                                                        Account:            ******9366 - Checking Account
Taxpayer ID #: **-***9894                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 03/29/17                                                                           Separate Bond: N/A

    1            2                            3                                    4                                              5                     6                 7

  Trans.     {Ref #} /                                                                                                        Receipts          Disbursements    Checking
   Date      Check #         Paid To / Received From              Description of Transaction                 T-Code              $                    $       Account Balance
                                                         11; Filed: $1,216.23; Reference: 6209 OR
                                                         5550
 01/09/17      129        Capital One, N.A.              Dividend paid 47.96% on $453.06; Claim# 14;         7100-000                                       217.30        75,732.33
                                                         Filed: $453.06; Reference: 3366 OR 4436
 01/09/17      130        Capital One, N.A.              Dividend paid 47.96% on $577.17; Claim# 15;         7100-000                                       276.82        75,455.51
                                                         Filed: $577.17; Reference: 6378
 01/09/17      131        Aera Energy LLC                Dividend paid 47.96% on $4,234.50; Claim#           7100-000                                    2,030.94         73,424.57
                                                         19; Filed: $4,234.50; Reference: 4PG1
 01/09/17      132        DANIEL'S JEWELERS              Dividend paid 47.96% on $1,078.25; Claim#           7100-000                                       517.15        72,907.42
                                                         22; Filed: $1,078.25; Reference: 9797
 01/09/17      133        Bustos Insurance Agency        Dividend paid 47.96% on $4,967.05; Claim#           7100-000                                    2,382.29         70,525.13
                                                         24; Filed: $9,640.06; Reference: 5077
 01/09/17      134        AltaOne Federal Credit Union   Combined Check for Claims#5,6                                                                  18,701.59         51,823.54
                                                           Dividend paid 47.96%              9,832.16        7100-000                                                     51,823.54
                                                           on $20,500.00; Claim#
                                                           5; Filed: $20,500.00;
                                                           Reference: 9883
                                                           Dividend paid 47.96%              8,869.43        7100-000                                                     51,823.54
                                                           on $18,492.71; Claim#
                                                           6; Filed: $18,492.71;
                                                           Reference: 9869
 01/09/17      135        Cavalry SPV I, LLC             Combined Check for Claims#17,18                                                                 1,842.65         49,980.89
                                                           Dividend paid 47.96%                  853.13      7100-000                                                     49,980.89
                                                           on $1,778.78; Claim#
                                                           17; Filed: $1,778.78;
                                                           Reference: 5128 OR
                                                           4011
                                                           Dividend paid 47.96%                  989.52      7100-000                                                     49,980.89
                                                           on $2,063.15; Claim#
                                                           18; Filed: $2,063.15;
                                                           Reference: 5297 OR
                                                           2003
 01/09/17      136        James E. Salven                Combined Check for Claims#et_al.                                                               26,000.00         23,980.89
                                                           Dividend paid 100.00%            24,835.95        3410-000                                                     23,980.89
                                                           on $24,835.95; Claim# ;
                                                           Filed: $24,835.95
                                                           Dividend paid 100.00%             1,164.05        3420-000                                                     23,980.89
                                                           on $1,164.05; Claim# ;
                                                           Filed: $1,164.05

                                                                                                   Subtotals :                         $0.00           $51,968.74
 {} Asset reference(s)                                                                                                                     Printed: 03/29/2017 12:13 PM        V.13.30
Filed 04/10/17                                                             Case 15-11835                                                                                        Doc 650
                                                                                                                                                                        Exhibit 9


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                                                 Cash Receipts And Disbursements Record
Case Number:         15-11835                                                               Trustee:            Randell Parker (001630)
Case Name:           CANNON, JAMES FLOYD                                                    Bank Name:          Rabobank, N.A.
                     CANNON, JAMIE DARLENE                                                  Account:            ******9366 - Checking Account
Taxpayer ID #: **-***9894                                                                   Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 03/29/17                                                                     Separate Bond: N/A

    1            2                        3                                  4                                              5                     6                 7

  Trans.     {Ref #} /                                                                                                  Receipts          Disbursements    Checking
   Date      Check #         Paid To / Received From          Description of Transaction               T-Code              $                    $       Account Balance
 01/09/17      137        Toby Curtis                  Combined Check for Claims#12,13                                                            23,980.89                0.00
                                                         Dividend paid 47.96%         16,067.20        7100-000                                                            0.00
                                                         on $33,500.00; Claim#
                                                         12; Filed: $33,500.00
                                                         Dividend paid 47.96%            7,913.69      7100-000                                                            0.00
                                                         on $16,500.00; Claim#
                                                         13; Filed: $16,500.00

                                                                           ACCOUNT TOTALS                                 223,110.99             223,110.99               $0.00
                                                                                 Less: Bank Transfers                            0.00                  0.00
                                                                           Subtotal                                       223,110.99             223,110.99
                                                                                 Less: Payments to Debtors                                         1,501.89
                                                                           NET Receipts / Disbursements                  $223,110.99         $221,609.10




 {} Asset reference(s)                                                                                                               Printed: 03/29/2017 12:13 PM        V.13.30
Filed 04/10/17                                                               Case 15-11835                                                                                        Doc 650
                                                                                                                                                                          Exhibit 9


                                                                             Form 2                                                                                       Page: 8

                                                  Cash Receipts And Disbursements Record
Case Number:         15-11835                                                                 Trustee:            Randell Parker (001630)
Case Name:           CANNON, JAMES FLOYD                                                      Bank Name:          Rabobank, N.A.
                     CANNON, JAMIE DARLENE                                                    Account:            ******9367 - Checking Account
Taxpayer ID #: **-***9894                                                                     Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 03/29/17                                                                       Separate Bond: N/A

    1            2                         3                                   4                                              5                     6                 7

  Trans.     {Ref #} /                                                                                                    Receipts          Disbursements    Checking
   Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                    $       Account Balance

    (No Transactions on File for this Period)                                ACCOUNT TOTALS                                         0.00                 0.00               $0.00
                                                                                    Less: Bank Transfers                            0.00                 0.00
                                                                             Subtotal                                               0.00                 0.00
                                                                                    Less: Payments to Debtors                                            0.00
                                                                             NET Receipts / Disbursements                          $0.00                $0.00

                                Net Receipts :      223,110.99
                      Plus Gross Adjustments :      607,794.60                                                                  Net               Net                 Account
                     Less Payments to Debtor :        1,501.89               TOTAL - ALL ACCOUNTS                             Receipts       Disbursements            Balances
                                                 ————————
                                  Net Estate :     $829,403.70               Checking # ******9366                          223,110.99             221,609.10                0.00
                                                                             Checking # ******9367                                  0.00                 0.00                0.00

                                                                                                                           $223,110.99         $221,609.10                  $0.00




 {} Asset reference(s)                                                                                                                 Printed: 03/29/2017 12:13 PM        V.13.30
